                                                                                     U:1ited Stc1'2~ Courts~
   Case 4:24-cv-02757         Document 30        Filed on 04/14/25 in TXSD        Page 1o,s;ri,:l
                                                                                  S..:ulhern    of 8 .:,f TeXa$
                                                                                           FILED

                                                                                       APR 1 4 ::25
                                     U.S. DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS (HOUSTON)                    Nathan Ochsner, Clerk of Court



Veronica Mckelvin Smith,                                                    Case No.:
       Plaintiff
                                      1
v                                                                             4:24-cv-02757

Texas Capital Loans, LLC
A Delaware Limited Liability Texas Capitol Loans LLC,
        Defendant



                           NOTICE OF FILING
                      BANKRUPTCY DISCHARGE ORDER

TO THE HONORABLE JUDGE OF THE COURT:

Plaintiff Veronica Mckelvin Smith hereby submits this Notice of Filing to inform the Court and
all parties of record of a federal bankruptcy discharge order entered in her Chapter 7 case, which
is material to the claims in the above-captioned action.

                                       BACKGROUND

   1. On June 11, 2024, the United States Bankruptcy Court entered a Judgment of Discharge
      in Plaintiffs Chapter 7 bankruptcy case.
   2. Among the discharged parties was Texas Capital Loans, LLC, a Delaware limited
      liability company, who was listed as a creditor in the bankruptcy petition.
   3. The discharge operates as a permanent injunction under 11 U.S.C. § 524(a), prohibiting
      any post-discharge collection actions or enforcement attempts related to the discharged
      debt.
   4. Despite this discharge, Defendant(s) have continued to pursue enforcement actions,
      including seeking an "In Rem" Order and participating in post-discharge proceedings
      against the Plaintiff, which form the basis of the present FDCPA claims.

                 FILING OF BANKRUPTCY DISCHARGE ORDER

Plaintiff respectfully submits the attached Exhibit A, a true and correct copy of the Bankruptcy
Discharge Order entered on June 11, 2024, in support of her claims and motions filed in this
matter.
 Case 4:24-cv-02757          Document 30        Filed on 04/14/25 in TXSD          Page 2 of 8



Plaintiff reserves all rights to further amend or supplement her filings in accordance with this
evidence.

Respe~ submitted, .

By:~~
Veronica Mckelvin Smith '
Suijuris
10723 Cypresswood Dr.
Houston, TX 77070
346-668-8191
Vmckelvinl O@gmail.com



                               CERTIFICATE OF SERVICE

I hereby certify that on April 11, 2025, a true and correct copy of the foregoing Notice of Piling
Bankruptcy Discharge Order and Exhibit A was served via email upon:

    •   Texas Capital Loans Trust, by and through its trustee
    •   R. Gary Laws, Trustee and sole member of Texas Capital Loans, LLC

Note: Because no separate mailing address is listed for Texas Capital Loans Trust or R. Gary
Laws, Trustee, service is being made through affiliated counsel of record, Mr. Preston T. Towber,
who is also identified as representing Texas Capital Loans, LLC and related entities.

Preston T. Towber
The Towber Law Firm PLLC
1111 Heights Blvd.
Houston, Texas 77008
Tel: (832) 485-3555
preston@towberlaw.com
ATTORNEY FOR Texas Capital Loans, LLC,
a Delaware Limited Liability Company

                                                               B4(-41z«<e
                                                                        Veronica Mckelvin Smith
                                                                                         Suijuris
                                                                          10723 Cypresswood Dr.
                                                                             Houston, TX 77070
                                                                                    346-668-8191
                                                                         Vmckelvinl O@gmail.com
  Case 4:24-cv-02757         Document 30        Filed on 04/14/25 in TXSD          Page 3 of 8



                                      EXHIBIT A


                             ORDER OF DISCHARGE
IT IS ORDERED:

A discharge under 11 U.S.C. § 727 is granted to:

Veronica Mckelvin Smith
Debtor

The court has found that the debtor is entitled to a discharge. The discharge prohibits any
attempt to collect from the debtor a debt that has been discharged. For more information,
creditors may refer to 11 U.S.C. § 524(a).




                            DISCHARGED CREDITOR
The following creditor(s) were listed in the bankruptcy petition and are subject to this discharge:

- Texas Capital Loans, LLC, a Delaware limited liability company

This discharge includes all debts owed to the above-named creditor, unless specifically
excluded by the Bankruptcy Code.


Date of Discharge Entry: June 11, 2024

Entered By: United States Bankruptcy Court Clerk


 This Exhibit is submitted in support of Plaintiff's filings in the U.S. District Court case no.
4:24-cv-2757, asserting violations of the discharge injunction under 11 U.S.C. § 524 and the Fair
Debt Collection Practices Act.
        Case 4:24-cv-02757
              Case 24-30523 Document
                            Document 30  Filedinon
                                     65 Filed      04/14/25
                                                 TXSB        in TXSDPage
                                                       on_ 06/13/24    Page
                                                                         1 of 44 of 8
                                                                                                                                              United States Bankruptcy Court
                                                                                                                                                  Southern District of Texas
iffiMJi&ttt.Mt,E.bffidRtfi¥.U&                                                                                                                       ENTERE
Debtor1                                                                                                                         xxx-xx-6155
                 Veronica McKelvin                                                             Social Security number or ITIN
                                                                                               EIN _ --------                                     Nathan Ochsner, Qlerk
                 First Name      Middle Name               Last Name

Debtor2                                                                                        Social Security number or ITIN ___ _
(Spouse, 11 filing) First Name     Middle Name                    Last Name                    EIN _ - _____ _

United States Bankruptcy Court Southern District of Texas

Case number:      24-30523

Order of Discharge                                                                                                                                            12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Veronica McKelvin


           6/11/24                                                                                  By the court: Eduardo V Rodriguez
                                                                                                                  United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                                                     This order does not prevent debtors from paying
and it does not determine how much money, if                                                       any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                                               debts according to the reaffirmation agreement.
                                                                                                   11 U.S.C. § 524(c), (f).             ,
Creditors cannot collect discharged debts
This order means that no one may make any                                                          Most debts are discharged
attempt to collect a discharged debt from the                                                      Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                                         all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                                                    personal liability for debts owed before the
or otherwise try to collect from the debtors                                                       debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                                                   Also, if this case began under a different chapter
in any attempt to collect the debt personally.                                                     of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                                                   to chapter 7, debts owed before the conversion
to pay debtors damages imd attorney's fees.                                                        are discharged.
However, a creditor with a lien may enforce a
                                                                                                                           .
                                                                                                   In a case involving community property: Special
claim against the debtors' property subject to that                                                rules protect certain community property owned
lien unless the lien was avoided or eliminated.                                                    by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                                                      not file a bankruptcy case .
foreclose a home mortgage or repossess an
automobile.

                                                                                                                    For more information, see page 2 >
                                                   ,,.,.    -:   ~__,•'~
                                      -~J .~,:··




                                                                       ~_:,_.......
                                                                 --,


Official Form 318                                                                     Order of Discharge                                        page 1
          Case 24-30523 Document
    Case 4:24-cv-02757  Document 30
                                 65 Filed
                                     Filedinon
                                             TXSB  on 06/13/24
                                               04/14/25 in TXSDPage 2 of54of 8
                                                                  Page




Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     • debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     • debts for most student loans;                      guaranteed a loan.


     • debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     • debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     • some debts which the debtors did not
       properly list;

     • debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and

     • debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Order of Discharge                           page 2
              Case 24-30523Document
      Case 4:24-cv-02757    Document30
                                     65 Filed
                                        Filedinon
                                                TXSB  on 06/13/24
                                                  04/14/25 in TXSDPagePage
                                                                       3 of 46 of 8
                                                               United States Bankruptcy Court
                                                                 Southern District of Texas
In re:                                                                                                                 Case No. 24-30523-evr
Veronica McKelvin                                                                                                      Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: AD!user                                                               Page 1 of2
Date Rcvd: Jun 11, 2024                                               Form ID: 318                                                              Total Noticed: 12
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked'+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.
I\
                 Addresses marked'"' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.



Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 13, 2024:
Recip lD                   Recipient Name and Address
er                     +   Texas Capital Loans, LLC, c/o Towber Law Firm PLLC, I I 11 Heights Blvd, Houston, TX 77008-6915
12633817               +   Affinity Credit Union, 73 Mountainview, Basking Ridge, NJ 07920-2332
12633827               +   Flagship Power, PO BOX 13326, Austin, TX 78711-3326
12633820               +   Nordstrom Rack, 1617 6th Ave, Seattle, WA 98101-1707
12633824               +   Texas Capital Loans, LLC A Delaware Limited Libili, 6101 Southwest Fwy, Ste 400, Houston, TX 77057-7317
12633825                   United States Dept of Education NellNet, P.O. Box 2837, Portland, OR 97208-2837
12633823               + Xfinity Cable, P.O. Box 2399, Warminster, PA 18974-0040

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                  Recipient Name and Address
er                     + EDI: AISACG.COM
                                                                                        Jun I2 2024 00:0 I :00    Capital One Auto Finance, a division of Capital
                                                                                                                  On, 4515 N Santa Fe Ave. Dept. APS, Oklahoma
                                                                                                                  City, OK 73118-7901
12633821               + EDI: ATTWIREBK.COM
                                                                                      • Jun 12 2024 00:01:00      AT&T Bankruptcy Center, 2270 Lakeside Blvd.,
                                                                                                                  7th Floor, Richardson, TX 75082-4304
12633816               + EDI: CAPITALONE.COM
                                                                                        Jun I 2 2024 00:01 :00    Capital One Credit Card, P.O. Box 30285, Salt
                                                                                                                  Lake, UT 84 I 30-0285
12633818               "MEBN
                                                                                        Jun 11202420:48:43        Macy, 151 West 34 Street, New York, NY
                                                                                                                  10001-9991
12633822               + EDI: VERIZONCOMB.COM
                                                                                        Jun 12 2024 00:01:00       Verizon, 500 Technology Drive, Suite 550,
                                                                                                                   Weldon Spring, MO 63304-2225

TOTAL: 5


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, •p duplicate of a
preferred address, or## out of date fonvarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(l), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.
               Case 24-30523 Document
       Case 4:24-cv-02757     Document 30
                                       65 Filed
                                           Filedin on
                                                   TXSB  on 06/13/24
                                                      04/14/25       PagePage
                                                               in TXSD   4 of 4 7 of 8
District/off: 0541-4                                                User: AD!user                                                        Page 2 of2
Date Rcvd: Jun 11, 2024                                             Form ID: 318                                                       Total Noticed: 12

Date: Jun 13, 2024                                         Signature:            /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 11, 2024 at the address(es) listed below:
Name                             Email Address
Christopher R Murray
                                 chris@j onesm urray. com crm@trusteso Iuti ons.net
Christopher Ross Travis
                                 on behalfofU.S. Trustee US Trustee C.Ross.Travis@usdoj.gov

Preston T Towber
                                 on behalf of Creditor Texas Capital Loans LLC preston@towberlaw.com, prestontowber@gmail.com

US Trustee
                                 USTPRegion07.HU.ECF@USDOJ.GOV

Veronica McKelvin
                                 vmckelvin IO@gmail.com


TOTAL: 5
Case 4:24-cv-02757          Document 30     Filed on 04/14/25 in TXSD       Page 8 of 8




           UNITED STATES BANKRUPTCY COURT OF SOUTHERN TEXAS
                                                                             United States Courts
                                   HOUSTON DIVISION                        Southern District ofTexas
                                                                                   FILED
Debtor: Veronica McKelvin Smith

                              CHAPTER:7                                        FEB O6 2024
                                  MATRIX List Creditors:                Nathan Ochsner; Clelk of Court
Capital One Credit Card                               United States Dept of Education
;E>.O. Box 30285                                      NellNet
Salt Lake, UT 84130                                   P.O. Box 2837
                                                      Portland, OR 97208-2837
Affinity Credit Union
73 Mountainview                                       Flagship Power

Basking Ridge, NJ 07920                               PO BOX 13326, Austin, TX 78711

Macy
151 West 34 Street
New York, NY 10001
                                                                  TRUE COP'll ·6;Rt,FY ATTEST:
Nordstrom Rack                                                   ~~.  _ OCHS~E~ Cierltof C~urt
16176th Ave                                                      By • -       41 ('t;r..o,., =-
                                                                    .    •·• Dep1,rty.elerk      .
Seattle, WA 98101

AT&T Bankruptcy Center .
2270 Lakeside Blvd. '7111 Floor
Richardson, TX 75082

Verizon
500 Technology Drive
Suite 550
Weldon Spring, MO 63304

Xfinity Cable
P.O. Box 2399
Warminster, PA 1874-0040

Texas Capital Loans, LLC A Delaware Llmited Libility Company
6101 Southwest Fwy, Suit 400
Houston, TX 77057
